             Case3:05-cr-00284-SI
            Case  3:05-cr-00284-SI Document
                                    Document34
                                             35 Filed
                                                 Filed09/22/2005
                                                       09/27/05 Page
                                                                 Page11ofof22



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        Telephone: (415) 436-7167
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8
                                  UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                     )       No. CR 05-00284 SI
13                                                 )
            Plaintiff,                             )       SPEEDY TRIAL ORDER
14                                                 )
                                                   )
15   AKRAM CHAUDHRY,                               )
     MOHAMMAD ADIL,                                )
16                                                 )
                                                   )
17      Defendants.                                )
                                                   )
18                                                 )
19
            The United States, by and through Assistant United States Attorney Mark Zanides, and
20
     defendants Akram Chaudhry and Mohammad Adil, through their attorneys Frank Bell and Marc
21
     Axelbaum, stipulated in open court, and the Court agrees, that the time period between August
22
     26, 2005, and September 23, 2005, be excluded from the time within which the trial of the above
23
     captioned matter must commence under the Speedy Trial Act.
24
            The Court specifically finds that on August 5, 2005, Mr. Frank Bell was appointed to
25
     substitute in for Mr. Chaudrhy’s prior counsel, and that the discovery in this case consists of over
26   1250 pages, including tape recordings of conversations in the Urdu language, and that the
27   government intends to provide further discovery, and that to prepare diligently Mr. Bell requires
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     Speedy Trial Order
     CR 05 00284 SI                                    1
               Case3:05-cr-00284-SI
              Case  3:05-cr-00284-SI Document
                                      Document34
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                                                   Filed09/22/2005
                                                         09/27/05 Page
                                                                   Page22ofof22



1    time to review these materials. Accordingly, the foregoing period of time is excluded pursuant to
2    18 U.S.C. § 3161(h)(8)(B)(iv) in order for the parties to prepare effectively for trial, and for

3    continuity of counsel. The parties agree and the Court finds pursuant to 18 U.S.C. §

4    3161(h)(8)(A) that the ends of justice served by the exclusion of time outweigh the bests interest

5    of the public and the defendants in a speedy trial.
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     IT IS SO ORDERED.
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                                                    SUSAN ILLSTON
                                                              GRDistrict
                                                    United States        Court
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     Speedy Trial Order
     CR 05 00284 SI                                    2
